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                                                                                 E-Filed: 10/5/09

                                       UNITED STATES DISTRICT COURT

                                      CENTRAL DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )
                                             )                 CASE NO. CR 01-237 WDK
                   vs.                       )
                                             )       JUDGMENT AND COMMITMENT ORDER
                                             )       UPON REVOCATION OF SUPERVISED
GREGORY ALAN FOSTER,                         )       RELEASE
                                             )
                         Defendant.          )
                                             )


        WHEREAS, on the 2nd day of October, 2009, came the attorney for the government and the defendant
appeared in person with retained counsel, Justin Sanders, and the defendant having admitted to allegations 1, 3 and
4 as set forth in the Petition of the Probation Officer filed August 28, 2009.

       WHEREAS, based on the admission of the defendant to having violated the terms and conditions of his
supervised release, and the Court having found the defendant to be in violation of his supervised release imposed
on June 17, 2002,

         IT IS HEREBY ORDERED that supervised release is revoked, vacated and set aside.

       IT IS ADJUDGED that the defendant is hereby committed to the custody of the Bureau of Prisons to be
imprisoned for a term of Five (5) months. No supervision to follow.

         Upon motion of the government, allegations 2 and 5 are ordered dismissed.




SIGNED: U. S. DISTRICT JUDGE
                                                 GEORGE H. KING


                                                                        TERRY NAFISI, CLERK OF COURT


                                                                        By:          /S/
Filed:   10/5/09                                                              Beatrice Herrera, Deputy Clerk
